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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

 STATE OF GEORGIA, et. al.,
                Plaintiffs,

v.                                                     Case No.: 2:15-cv-00079-LGW-BWC

 ANDREW WHEELER, et. al.
              Defendants


               INTERVENOR DEFENDANTS’ REPLY IN SUPPORT OF
                  CROSS-MOTION FOR SUMMARY JUDGMENT


                                        INTRODUCTION

        The Clean Water Rule is based on thorough, peer-reviewed science, over one million

 public comments, and over 400 meetings with individuals and groups across the country; it is

 also wholly consistent with approximately forty years of Clean Water Act law. Plaintiffs’

 arguments for vacating the Rule are meritless, and the Court should uphold the Rule.

                                          ARGUMENT

 I.     The Rule does not violate the Clean Water Act.

        A.      Plaintiffs’ challenge to “interstate waters” is time-barred.

        Plaintiffs’ time-barred claim regarding jurisdiction over interstate waters was not revived

 through the reopener doctrine, which applies when an agency announces a new position on a new

 issue in response to comments. The Agencies here made clear that the Clean Water Rule “does

 not change” the Agencies’ jurisdiction over interstate waters. 79 Fed. Reg. at 22,200. Industry

 Intervenors cite Ohio v. EPA, 838 F.2d 1325 (D.C. Cir. 1988), but this case is more similar to

 American Iron & Steel Institute v. EPA, 886 F.2d 390 (D.C. Cir. 1989), which was decided by

 the same court the following year and distinguished Ohio. In the later case, EPA referenced its
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existing treatment of post-closure permits for hazardous waste facilities in the preamble of a

proposed rule, but “nowhere [did the Agency] reopen the question of whether” it should change

its existing approach. Id. at 398 (emphasis in original). In the final rule, “EPA noted briefly that

it had received comments [on its existing treatment of post-closure permits]; [and] it responded

by saying it ‘reaffirmed’ its previous position and at most briefly reiterated its prior reasoning.”

Id. Distinguishing the case from Ohio v. EPA, the D.C. Circuit Court of Appeals held, “the

‘reopening’ rule of Ohio v. EPA is not a license for bootstrap procedures by which petitioners

can comment on matters other than those actually at issue, goad an agency into a reply, and then

sue on the grounds that the agency had re-opened the issue.” Id. That is what Plaintiffs attempt to

do here, and the Court should not allow it. “To so read Ohio v. EPA would undermine

congressional efforts to secure prompt and final review of agency decisions.” Id.

   Although the Agencies received comments addressing interstate waters, the Agencies

responded by clarifying that the Clean Water Rule “makes no change to the interstate water

section of the existing regulations.” See RTC-10 at 269. The fact that the Agencies briefly

repeated old reasons for this policy does not matter. Am. Iron, 886 F.2d at 398; see also Nat’l

Ass’n of Reversionary Property Owners v. Surface Transp. Bd., 158 F.3d 135, 145 (D.C. Cir.

1998) (“The mere act of repeating old reasons for an old policy . . . is not the equivalent of

reconsidering, and therefore reopening, the old issue.”).

       B.      The Rule does not read the word “navigable” out of the Clean Water Act.

       Even if it were not time-barred, Plaintiffs’ challenge to the inclusion of interstate waters

would fail on the merits. Interstate waters were subject to federal regulation before the Clean

Water Act, see, e.g., 33 U.S.C. §§ 466a(d)(1), 466i(e) (1952), and legislative history is clear that

the purpose of the Act was to expand, not shrink, the scope of previous regulation. As the



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Supreme Court put it, “Congress evidently intended to repudiate limits that had been placed on

federal regulation by earlier water pollution control statutes and to exercise its powers under the

Commerce Clause to regulate at least some waters that would not be deemed ‘navigable’ under

the classical understanding of that term.” United States v. Riverside Bayview Homes, Inc., 474

U.S. 121, 133 (1985). Indeed, the legislative history of the Clean Water Act, which Plaintiffs

largely ignore, makes clear that the term “navigable waters” was to be given “the broadest

possible constitutional interpretation.” S. Conf. Rep. No. 1236 (1972); H.R. Rep. No. 911

(1972); S. Rep. No. 414 (1971); Tech. Support Doc., ECF No. 211-10, at 6-9.

       In addition to the legislative history, courts have repeatedly interpreted Congress’ chosen

definition to mean that it intended the Clean Water Act to extend beyond traditional tests of

navigability to the outer limits of the Commerce Clause. And the Supreme Court has never

indicated that the Clean Water Act does not extend to interstate waters. Cf. Solid Waste Agency

of N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 531 U.S. 159, 166, 169, 171, 172 (2001)

(SWANCC) (describing waters as neither navigable nor interstate in determining jurisdiction);

City of Milwaukee v. Ill., 451 U.S. 304, 317 (1981) (finding that federal common law did not

govern interstate waters because Congress had occupied the field with the Clean Water Act).

       C.      The definition of “tributary” is consistent with the Clean Water Act and
               Supreme Court precedent.

       Plaintiff States next argue that the Rule covers tributaries that are inconsistent with

Justice Kennedy’s significant nexus test in Rapanos. They argue that the Rule covers water

features created by intermittent or ephemeral flow “without regard to the degree of flow from

those features to primary waters.” State Reply Br. (State Br.), ECF No. 222, at 6.

       As a threshold matter, Plaintiff States misapprehend the holding of Rapanos regarding

the definition of tributaries that have a significant nexus to jurisdictional waters. They appear to

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contend that the Agencies must have some set “particular quantum of volume or flow,” see id. at

8, that would indicate that a water feature had a significant nexus with jurisdictional waters (and

then argue pages later that the significant nexus test is a legal test not a scientific standard, id. at

10). But nothing in Rapanos or the Clean Water Act—or administrative law generally— requires

the Agencies to establish a precise numerical limit of volume or flow to be used to determine

whether a tributary has a significant nexus with jurisdictional waters. See U.S. Telecom Ass’n v.

Fed. Commc’ns Comm’n, 825 F.3d 674, 737 (D.C. Cir. 2016) (“We are mindful, moreover, that

‘by requiring regulations to be too specific courts would be opening up large loopholes allowing

conduct which should be regulated to escape regulation.’ . . . The flexible approach adopted by

the [agency rule] aims to address that concern in a field in which ‘specific regulations cannot

begin to cover all of the infinite variety of conditions.’”) (internal citations omitted). The Rule

does use volume of flow as an important consideration in general, but it reasonably does not

attempt to set specific numerical thresholds for volume and flow that would apply to every single

stream in every region of America. Under Plaintiff States’ approach, EPA would be required to

establish set numerical limits of volume and flow for different types of streams in vastly different

watersheds around the country regardless of whether such flow had a significant nexus on

downstream waters in the respective watersheds.

        Rather than engage in this impossible and over-prescriptive task, the Clean Water Rule

properly followed Justice Kennedy’s direction to:

        [t]hrough regulations or adjudication, . . . identify categories of tributaries that,
        due to their volume of flow (either annually or on average), their proximity to
        navigable waters, or other relevant considerations, are significant enough that
        wetlands adjacent to them are likely, in the majority of cases, to perform
        important functions for an aquatic system incorporating navigable waters.




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Rapanos, 547 U.S. at 780-81 (emphasis added). Indeed, this passage from Rapanos highlights

just why the Clean Water Rule passes legal muster—Justice Kennedy specifically explained that

the Agencies could identify categories of tributaries that have a significant nexus using

reasonable conditions and without requiring a precise “quantum of volume or flow” as the States

desire. Rather, the Agencies were allowed to define jurisdictional tributaries through other

means, including “proximity to navigable waters” and, even more broadly, “other relevant

considerations.” Id.

         The Agencies followed the direction in Rapanos here—in fact, they defined covered

tributaries more restrictively than required by Rapanos. First, they defined covered tributaries

more narrowly than prior regulations. The Clean Water Rule defines tributaries as only those

waters that are characterized by the presence of physical indicators of a sufficient amount of

flow—bed and banks, and ordinary high water marks—and which flow into a larger stream or

river. 33 C.F.R. § 328.3(a)(5), (c)(3) (defining tributary). The preexisting 1986 regulations, by

contrast, required only the presence of an ordinary high water mark and thus defined tributaries

more expansively. See 33 CFR 328.3 (1986).1

         Second, the Clean Water Rule’s more limited definition of tributary is based on a sound

scientific footing which showed that the physical indicators chosen are only created if there are

“sufficient and regular intervals of flow” in a waterbody that could have a significant nexus

downstream. 80 Fed. Reg. at 37,076; Tech. Support Doc. at 235-36 (citing Lichvar and

McColley 2008 and Mersel and Lichvar 2014 for proposition that physical indicators of flow can

be created by perennial, intermittent, and ephemeral flows); Science Report, ECF No. 211-6, at



   1
     The 2008 Guidance identified a number of different ways to determine flow, including
physical indicators like an ordinary high water mark, a channel defined by bed and banks, or
“shelving, wracking, water staining, sediment sorting, and scour.”
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ES-15, 2-2 (using physical indicators of flow, such as bed and banks, to identify components of

the river system). The Agencies rationally concluded that these physical indicators can be created

by perennial, intermittent, and ephemeral flows of water. Tech. Support Doc. at 235 (citing

scientific studies). The Agencies used bed and banks and an ordinary high water mark as

defining physical features of a jurisdictional tributary because these features can only be created

if there is sufficient flow.

        In fact, the Rule’s definition of tributary is even more conservative and narrower than the

Science Report recommends. In the Science Report, a tributary is a stream with a bed and banks

that flows into a larger stream or river. See Science Report 2-2, 2-4, A-13. The Rule, by contrast,

requires that a tributary also have an ordinary high water mark. 33 C.F.R. § 328.3(c)(3).

“Tributaries” under the Rule are thus a subset of tributaries in the Science Report, which

concluded unequivocally that all tributaries, as it defined them, are physically, chemically, and

biologically connected to downstream rivers. See Tech. Support Doc. at 246 (“The scientific

literature unequivocally demonstrates that tributaries exert a strong influence on the physical

integrity of downstream waters.”); id. at 249, 254; Science Report ES-2, 6-1. The Rule’s

definition of tributaries is thus conservative.

        The Rule’s requirements of a bed, banks, ordinary high water, and contribution of flow to

downstream primary waters addresses Justice Kennedy’s concern in Rapanos about covering

waters adjacent to “drains, ditches, and streams remote from any navigable-in-fact water and

carrying only minor water-volumes toward it . . . .” 547 U.S. at 781. Waters that have an

ordinary high water mark and bed and banks do not carry “only minor water volumes,” but rather

are shown by the science to have significant impacts on downstream primary waters, and thus

waters adjacent to them do too. See Tech. Support Doc. at 245 (explaining that “those physical



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characteristics indicate sufficient flow such that the covered tributaries are performing similar

functions and tributaries located in the single point of entry watershed are working together in

the region to provide those functions to the nearest traditional navigable waterway, interstate

water, or the territorial seas”). In Rapanos, Justice Kennedy himself noted that the ordinary high

water mark gives a “rough measure of the volume and integrity of flow.” 547 U.S. at 781.

         Industry Intervenors raise substantially the same argument as the States, claiming that

ordinary high water mark and bed and banks are “malleable requirements” that may be satisfied

“even when there is no regular or significant flow . . ., especially in dry environments like vast

tracts throughout the West.” 2 Indus. Intervenor Reply Br. (Int. Br.), ECF No. 221, at 11. They

claim that in the western United States, “erosional features with beds, banks and OHWMs

frequently reflect one-time water events . . . .” Id. at 12. The 2006 Corps report cited by Industry

Intervenors however, found that physical indicators were reliable evidence of flow. See Lichvar

et al., Distribution of Ordinary High Water Mark (OHWM) Indicators and Their Reliability in

Identifying the Limits of “Waters of the United States” in Arid Southwestern Channels 14

(2006). Further, the 2013 Corps report cited by Conservation Groups states that ordinary high

water marks, even though they may be “randomly” located across a channel, are nevertheless a

reliable indicator of water flow, explaining that ordinary high water marks “may best be

described as flow indicators” and “are useful for identifying portions of the channel that have

been inundated from the most recent flow event.” See Lefebvre et al., Survey of OHWM

   2
     As acknowledged by the Agencies in their Response to Comments, the Corps’ Arid
West OHWM Manual explains that ordinary high water marks in the arid west can be
identified “using other features associated with the limits of the active floodplain
(channel), which are easily identified in the field, less variable over time, and statistically
linked to the hydrologic and hydraulic parameters of ephemeral and intermittent arid
channel forms, to support the traditional OHWM indicators. This method . . . represents
the most consistent and repeating pattern associated with ‘ordinary’ events representing
OHW in the arid west.” RTC-8 at 313-314.
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Indicator Distribution Patterns across Arid West Landscapes 17 (2013). Beyond Industry

Intervenors’ unavailing citation to Corps studies, they more generally imply that, applied in the

arid West, the presence of a bed and banks and ordinary high water mark covers waters with no

significant nexus. See Int. Br. at 11-12. The science supports the opposite conclusion: tributaries

in the arid West have a significant nexus to downstream waters. Water flows from ephemeral

tributaries, for instance, are major drivers of water flow in rivers downstream and impact their

integrity and sustainability. See Science Report at B-37, B-59; Tech. Support Doc. at 265-66. By

supplying surface water during flood events, ephemeral channels influence downstream waters

by impacting sub-surface flows. See Science Report 1-10 (ephemeral flows in arid landscapes

are key sources of baseflow for downstream waters); Science Report at B-41 to B-42 (in the arid

and semiarid Southwest ephemeral tributaries are the dominant source of recharge in valley

floors). During one storm in New Mexico, flows from an ephemeral tributary accounted for 76%

of the Rio Grande’s flood flow. Id. at 3-7 to 3-8.

       At base, Industry Intervenors seem to think that that tributaries flowing in infrequent but

heavy bursts are functionally insignificant compared to tributaries flowing continuously in

smaller volumes. The record shows that to be incorrect. Science Report at 1-8 (low-frequency,

short-duration flooding can result in a large-magnitude downstream transfer of floodwaters,

sediment, large woody debris, and organisms, with important downstream effects). Justice

Kennedy’s Rapanos opinion recognized this very point. He explained that the plurality’s

insistence on regular flow “makes little practical sense,” because “[t]he merest trickle, if

continuous, would count as a ‘water’ . . . while torrents thundering at irregular intervals through

otherwise dry channels would not.” Rapanos, 547 U.S. at 769.




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        More broadly, these arguments miss the mark because Rapanos does not require that

every single water defined as a tributary have a significant nexus to jurisdictional waters on its

own. Rather, Justice Kennedy held in Rapanos that the agencies’ definition of a category of

waters is valid so long as the majority of waters in that category—not necessarily every single

one—has a significant impact on navigable waters. Justice Kennedy explained that the Corps

could “identify categories of tributaries” that, based on volume of flow, proximity to navigable

waters, or other considerations, are significant enough “in the majority of cases” to establish the

required impact on navigable waters. Id. at 780-81; see also Riverside Bayview, 474 U.S. at 135,

n. 9 (“If it is reasonable for the Corps to conclude that in the majority of cases, adjacent wetlands

have significant effects on water quality and the aquatic ecosystem, its definition can stand. That

the definition may include some wetlands that are not significantly intertwined with the

ecosystem of adjacent waterways is of little moment, for where it appears that a wetland covered

by the Corps definition is in fact lacking in importance to the aquatic environment—or where its

importance is outweighed by other values—the Corps may always allow development of the

wetland for other uses simply by issuing a permit.”) (emphases added). Industry Intervenors’

argument that one western water feature may, in occasional circumstances, have an ordinary high

water mark and a bed and banks but not a significant nexus to downstream waters misses these

important holdings of Rapanos and Riverside Bayview that waters covered by the Act may be

defined categorically. The Clean Water Rule’s definition of tributaries is more than adequately

justified by the scientific record.

        D.      The definition of “adjacent” is consistent with the Clean Water Act and
                Supreme Court precedent.

        Plaintiffs next argue that the Rule’s definition of adjacent waters is inconsistent with

Riverside Bayview and Rapanos and is generally overbroad. The Clean Water Rule defines

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adjacent waters as those that are either very close to a traditionally navigable water or a tributary,

or those that are within its 100-year floodplain and also within 1,500 feet. 33 C.F.R.

§ 328.3(c)(2)(i), (ii). That definition is supported by the scientific record, which shows that

waters within these boundaries have significant impacts on downstream waters.

       Plaintiffs’ arguments regarding adjacent waters is largely a rehashing of their complaints

regarding the Rule’s treatment of tributaries. Their logic is that if there is one water feature

somewhere in the country that is within the 100-year floodplain and 1,500 feet from a covered

water’s ordinary high water mark but does not have a significant nexus to navigable waters, then

the Rule is arbitrary. But as with their arguments regarding the Rule’s treatment of tributaries,

the logic is fatally flawed. See supra at Section I.C. Neither Rapanos nor Riverside Bayview

require that every single water in a covered category meet the significant nexus test if the

majority of waters in the category do. The language of these decisions on this issue could not be

more clear. See Riverside Bayview, 474 U.S. at 135, n. 9 (“Of course, it may well be that not

every adjacent wetland is of great importance to the environment of adjoining bodies of water.

But the existence of such cases does not seriously undermine the Corps’ decision to define all

adjacent wetlands as ‘waters.’ If it is reasonable for the Corps to conclude that in the majority of

cases, adjacent wetlands have significant effects on water quality and the aquatic ecosystem, its

definition can stand.”); see also Rapanos , 547 U.S. at 780-81 (Kennedy, J., concurring). The

arguments made by Industry Intervenors and the States can be rejected on this basis alone.

       In addition to the legal flaws in Industry Intervenors’ and the States’ arguments regarding

adjacency, their arguments are factually baseless. Both parties appear to suggest that the record is

too general to support the adjacency definitions created by the agency. But in fact, the Rule’s




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definition of adjacent waters is supported by a plethora of science in the administrative record.

For example, with regard to waters within 100 feet of tributaries, the record notes that:

       Many studies indicate that the primary water quality and habitat benefits will
       generally occur within a several hundred foot zone of a water. See, e.g., Peterjohn
       and Correll 1984; Hawes and Smith 2005. In addition, the scientific literature
       indicates that to be effective, contaminant removal needs to occur at a reasonable
       distance prior to entry into the downstream traditional navigable waters, interstate
       waters, or the territorial seas. Some studies also indicate that fish, amphibians
       (e.g., frogs, toads), reptiles (e.g., turtles), and small mammals (e.g., otters,
       beavers, etc.) will use at least a 100-foot zone for foraging, breeding, nesting, and
       other life cycle needs. Dole 1965; Smith and Green 2005; Semlitsch 2008; Steen
       et al. 2012.

Tech. Support Doc. at 298. The States complain that the record does not support a “significant

connection,” but the scientific literature shows that “riparian areas are highly connected to

streams, so much so that considering the riparian influence on streams is essential to

understanding their structure and function.” Science Report at 4-40. Moreover, adjacency “has

always included an element of reasonable proximity.” 79 Fed. Reg. at 22,207-08 (citing

Riverside Bayview, 474 U.S. at 133-34); see also 80 Fed. Reg. at 37,089 (“The agencies have

always recognized that adjacency is bounded by proximity.”); 42 Fed. Reg. at 37,122, 37,128

(July 19, 1977) (Clean Water Act jurisdiction extends to “any adjacent wetlands that form the

border of or are in reasonable proximity to other waters of the United States, as these wetlands

are part of this aquatic system”). It was within the Agencies’ rulemaking authority to identify a

point on the continuum at which: (a) waters are appropriately regarded as jurisdictional based on

adjacency; and (b) waters may be regarded as jurisdictional only after a case-specific analysis.

       On inclusion of waters within the 100-year floodplain, science in the record finds that:

       Floodplain waters improve water quality through the assimilation, transformation,
       or sequestration of pollutants, including excess nutrients and chemical
       contaminants such as pesticides and metals, that can degrade downstream water
       integrity. [Science Report] at ES-3. In addition to providing effective buffers to
       protect downstream waters from point source and nonpoint source pollution, these

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       systems form integral components of river food webs, providing nursery habitat
       for breeding fish and amphibians, colonization opportunities for stream
       invertebrates, and maturation habitat for stream insects. Id. Lateral expansion and
       contraction of the river in its floodplain result in an exchange of organic matter
       and organisms, including fish populations that are adapted to use floodplain
       habitats for feeding and spawning during high water, that are critical to river
       ecosystem function. Id. Floodplain wetlands and open waters also affect the
       integrity of downstream waters by subsequently releasing (desynchronizing)
       floodwaters and retaining large volumes of stormwater, sediment, and
       contaminants in runoff that could otherwise negatively affect the condition or
       function of downstream waters. Id.

Tech. Support Doc. at 300. In sum, the scientific record shows that wetlands located in

floodplains are “highly connected” to rivers and tributaries through surface water, shallow

groundwater, and biological connectivity. Science Report at 4-39, ES-2 to ES-3 (see Science

Report at 4-40, Table 4-3 for summary of physical, biological, or chemical impacts of floodplain

wetlands); see generally Science Report § 4.4 at 4-3 to 4-20 (reviewing and synthesizing impacts

of floodplain wetlands on physical, chemical, and biological integrity of rivers and streams,

citing dozens of peer-reviewed scientific papers supporting conclusion). Tellingly, neither the

States nor Industry Intervenors argue that the Agencies misinterpreted a specific publication or

any other technical information in the voluminous record before them.

       Both parties also complain about the Rule’s selection of the 100-year floodplain rather

than “any other time-delineated flood plain” as well as the 1,500-foot distance limit from the

primary water’s ordinary high water mark. See Int. Br. at 14. The Agencies chose to use a 100-

year interval floodplain, as opposed to a different interval, in part for reasons of clarity. 80 Fed.

Reg. at 37,089. Contrary to the Industry Intervenors’ claims, that does not make the decision

arbitrary. The question is whether the Agencies’ choices are “within a zone of reasonableness,”

not whether its numbers are “precisely right.” WorldCom, Inc. v. FCC, 238 F.3d 449, 462 (D.C.

Cir. 2001) (quotation marks omitted). Within the bounds of what is supported by the scientific



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evidence, administrability and enforceability can be a consideration in setting a regulatory

standard. See id. at 459; see also Beazer E., Inc. v. U.S. EPA Region III, 963 F.2d 603, 609 (3d

Cir. 1992) (courts defer to an agency’s line-drawing if the interpretation is “reasonable and

consonant with Congress’ intent”). Here, the floodplain interval chosen by the Agencies was

reasonable and supported by the science: it protects waters with a significant influence on the

integrity of downstream waters, and does so in a clear and implementable way.3 To the extent

Industry Plaintiffs assert that a shorter flood interval would have been clearer, the Agencies did

not agree, and explained why. See 80 Fed. Reg. at 37,083; Tech. Support Doc. at 300-01.4 The

court should not second-guess that judgment. See Ark. v. Okla., 503 U.S. 91, 112-13 (1992)

(court should not supplant agency findings, even if the record could support other findings).

       E.      The consideration of waters on a case-by-case basis is consistent with the
               Clean Water Act and Supreme Court precedent.

       State Plaintiffs’ claim that the case-by-case waters category of the Clean Water Rule

asserts jurisdiction over the ponds in SWANCC is not supported by the evidence. The Court in

SWANCC held that the use of “isolated,” non-navigable, intrastate ponds by migratory birds was

not itself a sufficient basis for the exercise of federal authority, rejecting the so-called “Migratory

Bird Rule.” See 531 U.S. at 174. SWANCC did not hold, as Plaintiffs imply, that the ponds at

issue could not be protected even if they had a significant nexus to navigable waters.

   3
      The 100-year floodplain delineates boundaries for federally subsidized flood insurance
under the National Flood Insurance Program. Given the well-documented flood absorption and
attenuation properties of wetlands protected by the Clean Water Rule, Tech. Support Doc. at
300-01, 80 Fed. Reg. at 37,083, defining jurisdiction along the same lines comports with the
strong federal interest in minimizing flood insurance taxpayer subsidies. Indeed, many
commenters requested that the Agencies use a 100-year flood plain. See 80 Fed. Reg. at 37,803.
    4
      Notably, the Agencies originally proposed a broader definition of adjacency than the one
finally selected in the Rule. The proposed rule would have included all floodplain waters as
adjacent. See 79 Fed. Reg. at 22,263 (proposed definition of “neighboring” in 33 CFR
328.3(c)(2)). Thus, the Rule’s provision that cuts off the automatic inclusion of floodplain waters
beyond 1,500 feet works in the States’ and Industry Intervenors’ favor.
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          The Clean Water Rule does not revive the Migratory Bird Rule, and in fact explicitly

deletes provision (a)(3), which was at issue in SWANCC, from the existing regulation. Tech.

Support Doc. at 31. The Clean Water Rule extends to those waters which significantly influence

the chemical, physical, or biological integrity of traditionally navigable or interstate waters. In

contrast, the Migratory Bird Rule did not turn on a significant nexus to the water’s biological

integrity, but on the basis of whether migratory birds, or hunters pursuing them, crossed state

lines. SWANCC, 531 U.S. at 163-64. Importantly, the circumstances giving rise to SWANCC

would not create jurisdiction under the Clean Water Rule. The Agencies specifically note that

under the Clean Water Rule, the mere presence of migratory birds relied on for jurisdiction in

SWANCC would not provide evidence that a water had a significant effect on the biological

integrity of navigable waters: “Non-aquatic species or species such as non-resident migratory

birds do not demonstrate a life cycle dependency on the identified aquatic resources and are not

evidence of biological connectivity for purposes of this rule.” 80 Fed. Reg. at 37,094 (emphasis

added).

          State Plaintiffs also argue that under Justice Kennedy’s significant nexus standard,

jurisdiction may only be established when a water significantly affects the chemical, physical,

and biological integrity of a primary water at the same time. See State Br. at 11. That is incorrect.

The purpose of the Clean Water Act is to “restore and maintain” all three forms of integrity. See

33 U.S.C. § 1251(a). State Plaintiffs’ interpretation of the significant nexus test would thwart the

purpose of the Clean Water Act by allowing only for the regulation of pollution that degrades

water in all three respects at once. Cf. Sosa v. Chase Manhattan Mortg. Corp., 348 F.3d 979,

982-83 (11th Cir. 2003) (construing the word “and” disjunctively to avoid “irrational results”).




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       Justice Kennedy implicitly recognized that jurisdiction does not require a significant

effect on all three types of integrity in Rapanos by identifying a number of different functions

that may create a significant nexus to a primary water, such as pollution trapping, flood control,

and runoff storage. Rapanos, 547 U.S. at 779. Those functions would not require a water to

impact the chemical, physical, and biological integrity of a primary water. State Plaintiffs also

mischaracterize the Court’s holding in SWANCC. See State Br. at 11. The Court in SWANCC

held that the use of “isolated,” non-navigable, intrastate ponds by migratory birds was not itself a

sufficient basis for jurisdiction. See 531 U.S. at 174. SWANCC does not hold, and the Act does

not support, the notion that a significant nexus can never arise from a significant effect on the

biological integrity of navigable waters. Accordingly, the Rule’s definition of “significant nexus”

is consistent with the purpose of the Clean Water Act and the Court’s decisions in SWANCC and

Rapanos.

       State Plaintiffs pose a series of hypotheticals involving wildlife which they claim would

establish jurisdiction under the Clean Water Rule based on a biological nexus, but allegedly

would not be compatible with Justice Kennedy’s significant nexus test in Rapanos. State Br. at

11. These hypotheticals are speculative, mischaracterize the Rule, and demonstrate a

fundamental misunderstanding of the significant nexus test. Under the Rule, smaller waters that

serve as nurseries for species that predominantly reside in larger primary waters, or smaller

waters that serve as foraging, feeding, nesting, and breeding grounds for these species, may be

determined to be jurisdictional waters if they significantly affect the biological integrity of

primary waters. See 80 Fed. Reg. at 37,093-94. The Agencies did not consider biological

functions of waters unless those functions affected the biological integrity of primary waters. See

Tech. Support Doc. at 14. As discussed above, this is consistent with Justice Kennedy’s



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significant nexus test and the purpose of the Clean Water Act.5 See 33 U.S.C. § 1251(a) (stating

that the purpose of the Clean Water Act is to restore “chemical, physical, and biological integrity

of the Nation’s waters”). The Clean Water Act has always been understood to protect aquatic

wildlife as a key component of maintaining and restoring the water quality of primary waters. As

early as 1975, the Corps recognized that “[w]etlands considered to perform functions important

to the public interest include . . . [w]etlands which serve important natural biological functions,

including food chain production, general habitat, and nesting, spawning, rearing and resting sites

for aquatic or land species.” 40 Fed. Reg. 31,328 (1975). The Clean Water Act itself contains

many provisions relating to wildlife. See, e.g., 33 U.S.C. § 1252(a) (“[D]ue regard shall be given

to the improvements which are necessary to conserve such waters for the protection and

propagation of fish and aquatic life and wildlife . . . .”); 33 U.S.C. § 1312(a) (requiring effluent

limitations for, among other things, “the protection and propagation of a balanced population of

shellfish, fish and wildlife”).

III.     The Agencies complied with the Administrative Procedure Act and other
         procedural requirements.

         A.     The final Rule is a logical outgrowth of the proposed rule.

         Industry Intervenors appear to concede that the Agencies are not required to identify a

numerical limit in the proposed rule. See Int. Br. at 18 n.3 (“Of course, the agency was not

required to ‘identify the precise numerical limit.’”). But they downplay the reality that the

Agencies specifically requested and received comment on different ways to define “adjacent

waters”—including “establishing specific geographic limits,” “including, for example, distance

limitations.” 79 Fed. Reg. at 22,208 (emphasis added). Thus, “interested parties” like Plaintiffs



5
 This approach is also consistent with the 2008 guidance document, which would apply in the
absence of the Clean Water Rule.
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“should have anticipated” that establishing specific geographic limits or distance limitations to

define “adjacent waters” was “possible” when the Agencies specifically requested comment on

these issues. See Miami-Dade Cty. v. U.S. E.P.A., 529 F.3d 1049, 1059 (11th Cir. 2008) (“A rule

is deemed a logical outgrowth if interested parties ‘should have anticipated’ that the change was

possible.”). Not only should they have anticipated it, they asked for it. Some Plaintiffs in this

case expressly supported the inclusion of “specific geographic limits,” “including for example

distance limitations,” and clear floodplain rules. See RTC-3, excerpts at ECF No. 211-11, at 153-

54 (comments by Georgia Department of Transportation); see also id. at 129 (responding to

Utah’s request that the Rule “include an explicit requirement” for reasonable proximity).

       Industry Intervenors admit that courts view comments as evidence of adequate notice, yet

argue that “other courts have rejected” this approach. Int. Br. at 19. But here the Agencies sought

comment on “including specific distance limitations” to define adjacency. Further, regardless of

what “other courts” do, the question is whether the Eleventh Circuit views comments as evidence

of notice, and it does. See Miami-Dade Cty., 529 F.3d at 1059 (“[A]lthough they may not

provide the only basis upon which an agency claims to have satisfied the notice requirement,

comments may be adduced as evidence of the adequacy of notice.”).

       Plaintiffs also ignore the import of Alabama Power Co. v. OSHA, 89 F.3d 740 (11th Cir.

1996). In Alabama Power, the Occupational Safety and Health Administration (OSHA)

published a proposed rule regarding protective apparel for certain employees exposed to

hazardous flames, sought comment, and then published a final rule. After issuing the final rule,

OSHA published what it called a “correction” to the rule, adding a numerical weight limit for

fabrics for the first time. Alabama Power complained that it should have received an opportunity

to comment on the numerical limit. The Eleventh Circuit held that the modification standard, 29



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U.S.C. § 655(b)(2), which provides the public an opportunity to comment on modifications, did

not apply, and that an additional comment period was not required because “the final standard,

correction included” was a “logical outgrowth” of the proposed standard. Ala. Power, 89 F.3d at

745. Plaintiffs’ suggestion that somehow this Eleventh Circuit case, which directly addresses the

issue at hand, does not apply because it involved a corrected final rule is wrong—the question

before the Circuit was whether the final corrected standard was a logical outgrowth of the draft

standard. Id. Indeed, the Eleventh Circuit itself has cited Alabama Power for this proposition in a

case having nothing to do with modifications or corrections. See Am. Iron & Steel Inst. v.

Occupational Safety & Health Admin., 182 F.3d 1261, 1276 (11th Cir. 1999). Plaintiffs’

unsupported effort to say otherwise is nothing but a failed attempt to distinguish a binding case

that directly contradicts their position.6

        B.      The parties had meaningful opportunity to comment on the Science Report.

        Industry Intervenors are wrong that interested parties were deprived of an opportunity to

comment on the Final Science Report. As previously explained, the final Science Report’s

“continuum-based approach” was not “new,” contra Int. Br. at 21, despite Plaintiffs’ best efforts

to paint it as such. See 79 Fed. Reg. at 22,193; Draft Science Report, ECF No. 211-13, at 3-4, 4-

21 to 4-23, 6-3 (discussing the “River Continuum Concept”); id. at 3-33 (discussing the factors

that “determine where components of a [river] system fall on the connectivity-isolation

gradient”); id. at 5-57 (discussing the “continuum of connectivity” in wetlands). Instead, the final

report merely supplemented and refined information already disclosed in the draft report.



    6
     In addition to these reasons, Industry Intervenors’ argument regarding the inclusion of
distance-based limitations for case-by-case waters also fails because Plaintiffs can show no
redressible injury from the complained-of change. That change categorically excluded from
coverage some waters that would have been subject to potential inclusion.

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       Industry Intervenors rely on two cases to support their position. Both undercut it. First, in

United States v. Nova Scotia Food Products Corp., 568 F.2d 240, 252 (2d Cir. 1977), the FDA

issued a regulation regarding the processing of smoked fish. The appellant argued that the FDA

regulation was invalid because the FDA did not disclose the scientific data and methodology on

which it relied to ban the sale of certain products. The court agreed, holding that “when the

pertinent research material is readily available and the agency has no special expertise,” there is

“[no] reason to conceal the scientific data relied upon from the interested parties.” Id. at 251.

       Unlike here, however, in Nova Scotia the FDA did not release any science at all. Id.

(“[A]ll the scientific research was collected by the agency, and none of it was disclosed . . . .”)

Contrary to Industry Intervenors’ characterization, the court did not hold that supplementing the

scientific basis for a rule after the close of the comment period violates the APA. Quite the

opposite, the court recognized that “a proceeding might never end if such [scientific] submission

required a reply ad infinitum.” Id. at 251 n.15. Therefore, in finding that the FDA should have

disclosed the scientific basis for the rule, the court noted that disclosing this information “simply

would have required a single round of comment.” Id. (emphasis added).

       Second, in Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392 (9th Cir. 1995), the Ninth

Circuit considered whether a final Fish and Wildlife Service rule listing the Springs Snail as an

endangered species violated the APA because the Fish and Wildlife Service did not disclose a

non-public USGS report that it heavily relied on to list the snail. Id. at 1403. The Ninth Circuit

held that agency’s failure to disclose the report, which “was critical to FWS’ decision to list the

Springs Snail,” violated the APA because the report “did not confirm or replace existing data”

but instead provided “the only scientific information on the cause of the decline in spring flows”

that were threatening the snail. Id. In reaching its conclusion, however, the court emphasized



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that, as long as new information is not “the only scientific information” on a critical issue, “[a]n

agency can add material to the administrative record after the close of a public comment period

when that material is in response to the comments” and that “an agency may use supplementary

data, unavailable during the notice and comment period, that expands on and confirms

information contained in the proposed rulemaking and addresses alleged deficiencies in the pre-

existing data, so long as no prejudice is shown.” Id. at 1402, 1403 (emphasis added) (internal

citations and quotation marks omitted). That is precisely what happened here.

       Instead, this case is more akin to Solite Corp. v. EPA, 952 F.2d 473 (D.C. Cir. 1991). In

that case, EPA issued a proposed rule and contemporaneously released a scientific report

containing the data on which the rule was based. Later, EPA replaced the scientific report with a

different, supplementary one that included additional data. Petitioners complained that this “last

minute” replacement violated the APA by depriving petitioners of their opportunity to comment

on the later report, which was issued after the close of the comment period. The D.C. Circuit

Court of Appeals held that the agency’s reliance on the supplemental report did not violate the

APA’s notice and comment provisions “because EPA’s methodology remained constant, and

because the added data was used to check or confirm prior assessments.” Id. at 485; see also

Cmty. Nutrition Inst. v. Block, 749 F.2d 50, 58 (D.C. Cir. 1984) (“It is impossible to perceive

why correction of an asserted deficiency in earlier studies . . . should give rise to an additional

opportunity to comment.”); Air Transport Ass’n of Am. v. C.A.B., 732 F.2d 219, 224 (D.C. Cir.

1984) (holding that agency reliance on “internal staff studies” did not violate APA).

       C.      The Agencies responded to significant comments.

       The Agencies’ written response to comments runs 17 volumes and totals over 7,500

pages. Even Plaintiffs appear to acknowledge that the Agencies responded to their comments in



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some fashion. See Int. Br. at 22-23 (complaining about adequacy of responses). Instead, their

argument amounts to a complaint that they did not like the Agencies’ responses. “There is no

requirement, however, that an agency respond to significant comments in a manner that satisfies

the commenter.” FBME Bank Ltd. v. Mnuchin, 249 F. Supp. 3d 215, 222 (D.D.C. 2017).

“Instead, to respond adequately, the agency must only address significant comments ‘in a

reasoned manner,’ that allows a court ‘to see what major issues of policy were ventilated . . . and

why the agency reacted to them as it did.’” Id. (internal citations omitted). In other words, the

agency’s responses need only show that its decision was “based on a consideration of the

relevant factors.” Thompson v. Clark, 741 F.2d 401, 409 (D.C. Cir. 1984). Here, the Agencies’

response shows that the Rule was based on a full consideration of the relevant factors.

       In any event, Industry Intervenors’ complaints mischaracterize the record. For example,

they complain that the Agencies’ did not adequately respond to their complaint that an ordinary

high water mark can be difficult to identify in the arid West. Specifically, Industry Intervenors

contend that the Agencies’ only response was “that the Corps had previously applied the OHWM

metric in the arid West.” Int. Br. at 23. That is not accurate. First, the Agencies pointed to a

publicly available 84-page Army Corps of Engineers field guide on the identification of the

ordinary high water mark in the arid West that underwent internal and external peer review and

technical review by multiple scientists. See RTC-8 at 316-17 (directing commenters to “The

Field Guide for the Identification of OHWM in the Arid West” for “additional, more specific

guidance for identifying the OHWM within the arid West Region”); see also Robert W. Lichvar

et al., U.S. Army Corps of Eng’rs, A Field Guide to the Identification of the Ordinary High

Water Mark (OHWM) in the Arid West Region of the Western United States: A Delineation

Manual (2008). Responding by providing a publicly available peer-reviewed document



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published by the Corps itself hardly counts as brushing off the Industry Intervenors’ concerns. If

that weren’t enough, the Agencies also thoroughly responded to these comments within the

response document itself, explaining the approach set forth in the Corps’ manual:

       The Arid West OHWM manual was developed to address these challenges in low-
       gradient, alluvial ephemeral/intermittent channel forms, by using other features
       associated with the limits of the active floodplain (channel), which are easily
       identified in the field, less variable over time, and statistically linked to the
       hydrologic and hydraulic parameters of ephemeral and intermittent arid channel
       forms, to support the traditional OHWM indicators. This method uses stream
       geomorphology and vegetation response to the dominant stream discharge and
       represents the most consistent and repeating pattern associated with “ordinary”
       events representing OHW in the arid west.

RTC-8 at 313-14; see also id. at 316-17; 345-46. On top of this, the final Science Report has an

entire section dedicated to arid southwestern ephemeral and intermittent streams. See Science

Report at Section B.5; RTC- 9 at 25-28. Again, the fact that Industry Intervenors dislike or

disagree with these responses does not make them inadequate under the APA.

       Similarly, Industry Intervenors complain that the Agencies’ response to comments

regarding “the Rule’s over-expansion of federal jurisdiction” was “a clear example of the agency

brushing off rather than addressing comments.” Int. Br. at 22. Again, this mischaracterizes the

record. In addition to addressing this topic multiple times in their response to comments, the

Agencies thoroughly addressed these concerns at pages 30-34 and 83-85 of the Technical

Support Document. Among other things, the Agencies substantively responded to concerns about

(1) whether “the proposed rule asserts expansive jurisdiction that is beyond the commerce

authority Congress exercised in enacting the CWA;” (2) whether the proposed rule expands

jurisdiction when compared to the 1986 regulatory scheme; (3) whether the proposed rule

expands jurisdiction when compared to the 2008 guidance document; (4) how the proposed rule

is different than the Migratory Bird Rule; (5) how the proposed rule places limitations on the



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Agencies’ authority; and (6) confusion among commenters about whether the Agencies’ scope of

jurisdiction is broader or narrower under the proposed rule. Tech. Support Doc. at 30-34, 83-85.

Far from “brushing off” comments on the scope of jurisdiction under the Clean Water Rule, the

Agencies painstakingly responded to each and every concern.

       D.      The Agencies did not engage in an unlawful advocacy campaign.

       Industry Intervenors appear to agree that neither the Appropriations Act of 2014 nor the

“anti-lobbying laws” give rise to a separate cause of action. Instead, they argue that the

Agencies’ so-called “propaganda campaign” shows that the Agencies approached the rulemaking

with a “closed mind” and did not offer “fairness and transparency” to interested parties. This

argument fails for at least three reasons. First, as the Agencies pointed out, “The GAO opinion in

no way found that EPA acted in bad faith, or that the Agencies had a ‘closed mind to criticism.’”

Agency Response Br., ECF No. 215, at 33 (internal citations omitted).7 Second, as the Agencies

address in their Response in Opposition to Plaintiffs’ Motion for Summary Judgment, neither the

Appropriations Act of 2014 nor the anti-lobbying laws give rise to a procedural claim under the

Administrative Procedure Act. Third, the record plainly shows that the Agencies did not

approach the rulemaking with a “closed mind.” As detailed in the Conservation Groups’ Cross-

Motion for Summary Judgment, the Agencies carefully crafted the Clean Water Rule over

several years, solicited and received over one million public comments, prepared a nearly 7,500-

page response to those comments, and held over 400 public meetings with individuals and

groups across the country—an unprecedented level of outreach by any standard. Industry

Intervenors’ suggestion that this level of outreach demonstrates a “closed mind” is wrong.



   7
     The GAO separately concluded that the Agencies had complied with all procedural
requirements. See Letter from Robert J. Cramer, Gov’t Accountability Office, to Jim Inhofe,
Comm. on Env’t and Pub. Works (July 15, 2016) at 2.
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         E.     The Agencies complied with the Regulatory Flexibility Act.

         The Agencies fully satisfied their obligations under the Regulatory Flexibility Act. In any

event, however, Industry Intervenors entirely ignore case law holding that, even if the Agencies’

certification were improper (which it was not), the Clean Water Rule would still be valid because

the Agencies completed the required outreach and analysis, rendering any noncompliance with

the Regulatory Flexibility Act harmless error. See Envtl. Def. Ctr., Inc. v. EPA, 344 F.3d 832,

879 (9th Cir. 2003) (“Any hypothetical noncompliance [with the RFA] would thus have been

harmless, since the available remedy would simply require performance of the economic

assessments that EPA actually made); cf. Miami-Dade, 529 F.3d at 1061. It is undisputed that the

Agencies conducted outreach meetings with small business participants from various sectors as

early as 2011 and held over 400 public meetings in all, seeking feedback from all types of

stakeholders including small entities and businesses. This level of outreach to small businesses

more than satisfies the procedural requirements of the Regulatory Flexibility Act.

III.     The Rule is constitutional.

         A.     The Rule is not unconstitutionally vague.

         Industry Intervenors complain that the Clean Water Rule’s reliance on an ordinary high

water mark to define tributary renders the Rule unconstitutionally vague. Industry Intervenors’

allegation that “[r]egulators can reach any outcome they please,” Int. Br. at 19, is misleading,

without support, and wrong. The Rule defines ordinary high water mark by specific physical

characteristics or “other appropriate means that consider the characteristics of the surrounding

areas.” See 33 C.F.R. § 328.3(c)(6). Agency guidance further instructs regulators what “other

appropriate means” are and how to identity an ordinary high water mark. See U.S. Army Corps

of Eng’rs, Reg. Guidance Letter 05-05 (Dec. 7, 2005). The Agencies have also published field



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guides for identifying ordinary high water marks. The comprehensive direction contained in the

Rule, agency guidance, and the field guides distinguishes this case from those cited by

Intervenors, where regulators were left to guess at the meaning of undefined terms like “indecent

language.” Compare F.C.C. v. Fox Tel. Stations, 567 U.S. 239, 243 (2012).

       Certainly, the definition of ordinary high water mark offers limited flexibility, but

flexibility is necessary to address different circumstances in different parts of the county. The

law on this point is clear: the fact that the definition offers some flexibility does not render the

Rule unconstitutionally vague. See U.S. Telecom, 825 F.3d at 737 (“[A] regulation is not

impermissibly vague because it is ‘marked by flexibility and reasonable breadth, rather than

meticulous specificity.’”). Contrary to Plaintiffs’ intimations, “[t]here is no requirement . . . that

statutes [or regulations] define every factual situation that may arise.” United States v. Biro, 143

F.3d 1421, 1430 (11th Cir. 1998). “That there may be marginal cases in which it is difficult to

determine the side of the line on which a particular fact situation falls is not sufficient reason to

hold the language too ambiguous . . . .”Id. Nor does it matter that the Agencies may use remote

sensing tools to identify an ordinary high water mark. The Agencies have used such evidence for

years, long before the Clean Water Rule was promulgated, 80 Fed. Reg. at 37,076-77, and courts

have repeatedly accepted this evidence. Plaintiffs’ unfounded objection that the use of remote

sensing tools will lead to arbitrary enforcement is entirely contrary to historical evidence.

       B.      The Rule does not violate the Commerce Clause or the Tenth Amendment.

       Plaintiffs’ arguments that the Clean Water Rule violates the Commerce Clause and the

Tenth Amendment are premised on the incorrect assumption that the Rule encompasses waters

without a significant nexus to primary waters. As discussed above, the record shows that waters

covered by the Rule have a significant nexus to primary waters. Thus, these waters are properly



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regulated under the Commerce Clause, and the Rule does not violate the Tenth Amendment.

Plaintiffs’ arguments to the contrary fail with their significant nexus arguments.

                                         CONCLUSION

       For all of these reasons, the Court should grant summary judgment in favor of

Defendants, dissolve its preliminary injunction, and uphold the Clean Water Rule.

       Respectfully submitted this 28th day of November, 2018.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 28, 2018, I electronically filed the foregoing
Intervenor Defendants’ Reply in Support of Cross-Motion for Summary Judgment with the Clerk
of Court using the CM/ECF system which will send notification of such filing to the attorneys of
record.
                                                s/ Megan Hinkle Huynh

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